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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

      IRA KLEIMAN, as the personal representative of the                 CASE NO.: 9:18-cv-80176-BB/BR
      Estate of David Kleiman, and W&K Info Defense
      Research, LLC

                      Plaintiffs,

      v.

      CRAIG WRIGHT,

                      Defendant.


      PLAINTIFFS’ NOTICE OF FILING COUNTER-DESIGNATIONS AND OBJECTIONS

               In accordance with the Court’s Order Scheduling and Order of Instructions Before

  Calendar Call (ECF No. [476]), Plaintiffs attach to this notice their counter-designations and

  objections to the affirmative deposition designations filed by Defendant for the following

  depositions1:


              Lynn Wright (Ex. 1)
              Don Lynam (Ex. 2)
              Gavin Andresen (Ex. 3)
              Ira Kleiman (Ex. 4)
              W&K 30(b)(6) deposition designee (Ex. 5)


  Dated: June 26, 2020                                            Respectfully submitted,


                                                                  s/ Andrew Brenner
                                                                  Andrew S. Brenner, Esq.
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       Where applicable, the attached depositions contain redactions previously filed with the Court.
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                                                     Counsel to Plaintiffs Ira Kleiman as
                                                     Personal Representative of the Estate of
                                                     David Kleiman and W&K Info Defense
                                                     Research, LLC.


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 26, 2020 a true and correct copy of the foregoing was

  filed with CM/ECF, which caused a copy to be served on all counsel of record.


                                                     /s/ Andrew S. Brenner
                                                     ANDREW S. BRENNER




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